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                                                                                          July 17, 2023
    By CM/ECF

    Mark Langer
    Clerk of Court
    U.S. Court of Appeals for the D.C. Circuit
    333 Constitution Ave. NW
    Room 5205
    Washington, D.C. 20001

    Re:                  Schilling v. U.S. House of Representatives, No. 22-5290 (D.C. Cir.)
                         Notice of Supplemental Authority Pursuant to Rule 28(j)

    Dear Mr. Langer:

            After Defendants-Appellees filed their brief (Doc. 2005762), this Court held
    in Massie v. Pelosi, No. 22-5058, 2023 WL 4280843 (D.C. Cir. June 30, 2023),
    that litigation challenging legislative acts—the House’s adoption of a resolution
    requiring masks be worn in the Hall of the House and execution of that resolution
    through fines—is barred by the Speech or Debate Clause’s absolute immunity.
    Op. 2, 5.

          Massie provides further support for arguments in our appellee brief and
    confirms that the judgment below should be affirmed:

                  When a plaintiff sues over a legislative act, the Speech or Debate
                   Clause operates as a jurisdictional bar that precludes the court from
                   considering the merits. See Op. 2-5, 8; cf. Appellee Br. (Br.) 12, 19,
                   32-33, 35.

                  Speech or Debate Clause immunity is not lost when a plaintiff alleges
                   that legislative acts violate the Constitution or internal rules. Op. 8;
                   cf. Br. 19-20.
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          Speech or Debate Clause immunity extends beyond Members: House
           employees are immune from suit when they perform a legislative act.
           Op. 7-8; cf. Br. 22, 30-32.

          Speech or Debate Clause immunity promotes the separation of powers
           by protecting Congressional independence and by preventing
           accountability before a potentially hostile judiciary. Op. 8; cf. Br. 18-
           19, 24-25, 29, 36-38.

      The Congressional Defendants are protected by the absolute immunity
afforded by the Speech or Debate Clause, and, as Massie shows, this Court should
affirm the judgment below.

                                      Respectfully submitted,

                                      /s/ Bradley Craigmyle
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                         CERTIFICATE OF SERVICE

      I certify that on July 17, 2023, I caused the foregoing document to be filed

via the U.S. Court of Appeals for District of Columbia Circuit CM/ECF system,

which I understand caused a copy to be served on all registered parties.

                                             /s/ Bradley Craigmyle
                                             Bradley Craigmyle
